      Case 3:15-cv-00653-P Document 1 Filed 02/27/15                   Page 1 of 5 PageID 1



                         IN T H E UNITED S T A T E S D I S T R I C T C O U R T
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                     D A L L A S DIVISION

MARIA R O D R I G U E Z ,                        §
                                                 §
          Plaintiff,                             §
                                                 §
v.

STATE FARM LLOYDS,                               §
                                                 §                 J U R Y DEMAND
          Defendant.
                                                 §


               DEFENDANT S T A T E F A R M L L O Y D S ' N O T I C E O F R E M O V A L

TO THE HONORABLE COURT:

          Pursuant to 28 U.S.C. §§ 1441 and 1446, State Farm Lloyds ("State Farm" or

"Defnedant") files this Notice of Removal to the United States District Court for the Northern

District of Texas, Dallas Division, on the basis of diversity of citizenship and amount in

controversy and respectfully shows:

                                                      I.

                           F A C T U A L AND P R O C E D U R A L BACKGROUND

          1.     On January 21, 2015, Plaintiff Maria Rodriguez filed her Original Petition in the

matter styled Maria Rodriguez v. State Farm Lloyds, Cause No. DC-15-00692, in the 298th

Judicial District Court in and for Dallas County, Texas.        The lawsuit arises out of a claim

Plaintiff made for damages to her home under a homeowner's insurance policy with State Farm

Lloyds.

          2.     Plaintiff served State Farm with a copy of the Original Petition on or about

February 6, 2015.



DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 1
2163620v1
10578.120
       Case 3:15-cv-00653-P Document 1 Filed 02/27/15                 Page 2 of 5 PageID 2



        3.      State Farm files this notice of removal within 30 days of receiving Plaintiffs

pleading. See 28 U.S.C. § 1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action.

        4.     A l l pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. §1446(a).         A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiff.

        5.     As required by 28 U.S.C. § 1446(a) and Rule 81.1 of the Local Rules,

simultaneously with the filing of this notice of removal, attached hereto as Exhibit " A " is an

Index of State Court Documents, a copy of the Docket Sheet is attached as Exhibit "B," a copy

of Plaintiffs Original Petition is attached as Exhibit "C," a copy of the Jury Demand is attached

as Exhibit "D," a copy of the Citation Certificate issued on State Farm Lloyds is attached as

Exhibit "E," and a copy of State Farm Lloyds' Original Answer is attached as Exhibit "F."

       6.      Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and

division embrace Dallas County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                   II.

                                    BASIS F O R R E M O V A L

       7.      Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a),

1441(a) and 1446.

A.     The Proper Parties Are Of Diverse Citizenship

       8.      Plaintiff is, and was at the time the lawsuit was filed, a resident and citizen of

Texas. See Pi's Original Pet., Exhibit C, Pg. 1.

       9.      Defendant State Farm is, and was at the time the lawsuit was filed, a citizen of the

states of Illinois, Colorado and Pennsylvania. State Farm is a "Lloyd's Plan" organized under
DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 2
2163620v1
10578.120
       Case 3:15-cv-00653-P Document 1 Filed 02/27/15               Page 3 of 5 PageID 3



Chapter 941 of the Texas Insurance Code. It consists of an association of underwriters, each of

whom, at the time this action was commenced were, and still are, citizens and residents of the

states of Illinois, Colorado and Pennsylvania. Therefore, State Farm is a citizen and resident of

the states of Illinois, Colorado and Pennsylvania for diversity purposes. Royal Ins. Co. v. Quinn-

L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v. State Farm Lloyd's Ins. Co., 993 F.

Supp. 568, 570 (S.D. Tex. 1998) ("the citizenship of State Farm Lloyds must be determined

solely by the citizenship of its members, or underwriters."); Rappaport v. State Farm      Lloyd's,

1998 W L 249211 (N.D. Tex. 1998) (finding that State Farm Lloyds is an unincorporated

association whose members are completely diverse with Plaintiff, and denying remand).

        10.    Because Plaintiff is a citizen of Texas and Defendant State Farm is a citizen of

Illinois, Colorado and Pennsylvania, complete diversity of citizenship exists among the parties.

B.     The Amount in Controversy Exceeds $75,000.00

        11.    This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs Petition expressly alleges that "Plaintiff seeks monetary relief of $100,000.00 or

less[.]" See Exhibit C, | 2. Thus, the express allegations in the Petition exceed the amount in

controversy threshold of $75,000.00.

        12.    In addition, Plaintiffs Original Petition seeks damages for breach of contract,

violations of the Texas Deceptive Trade Practices Act, violations of the Texas Insurance Code,

and breach of the duty of good faith and fair dealing. Plaintiff asks to be awarded actual

damages, consequential damages, treble damages under the Texas Insurance Code and Texas

Deceptive Trade Practices Act, punitive damage, additional damages, exemplary damages,

attorneys' fees, court costs, prejudgment interest, and post judgment interest.     Based on the




DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 3
2163620v1
10578.120
      Case 3:15-cv-00653-P Document 1 Filed 02/27/15                Page 4 of 5 PageID 4



allegations set forth in Plaintiffs Original Petition, the amount in controversy in this case well

exceeds the $75,000.00 jurisdictional requirement.

                                     Conclusion and Prayer

       A l l requirements are met for removal under 28 U.S.C. §§ 1332 and 1441. Accordingly,

Defendant State Farm Lloyds hereby removes this case to this Court for trial and determination.


                                             Respectfully submitted,

                                             Isi Rhonda J. Thompson
                                             Rhonda J. Thompson
                                             State Bar No.: 24029862
                                             Adrienne B. Hamil
                                             State Bar No. 24069867
                                             THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                             700 N . Pearl Street, 25th Floor
                                             Dallas, Texas 75201
                                             Telephone: (214) 871-8200
                                             Facsimile: (214) 871-8209
                                             Email: rthompson@thompsoncoe.com
                                             Email: ahamil@thompsoncoe.com
                                             COUNSEL F O R DEFENDANT S T A T E F A R M
                                             LLOYDS




DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 4
2163620v1
10578.120
      Case 3:15-cv-00653-P Document 1 Filed 02/27/15                 Page 5 of 5 PageID 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2015, a true and correct copy of the foregoing has
been forwarded to counsel of record in accordance with the applicable Rules of Civil Procedure:

Via Facsimile and Certified Mail, RRR:
Jessica Taylor
The Law Office of Jessica Taylor
14100 San Pedro, Suite 205
San Antonio, Texas 78232
Telephone: (210) 402-4022
Fax: (210) 910-6350
Email: Jessica@itaYlorlaw.com
Counsel for Plaintiff

                                             Isi Adrienne B. Hamil
                                             Rhonda J. Thompson
                                             Adrienne B. Hamil




DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 5
2163620v1
10578.120
